       Case: 24-40792    Document: 105       Page: 1   Date Filed: 12/19/2024




                               Case No. 24-40792

      IN THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT


                     TEXAS TOP COP SHOP, INC., et al.,
                                  Plaintiffs–Appellees,

                                        V.

            MERRICK GARLAND, ATTORNEY GENERAL OF THE UNITED
                        STATES, et al., Defendants-Appellants.


On Appeal from the United States District Court for the Eastern District of Texas,
                    Sherman Division No. 4:24-CV-478,
              The Honorable Amos L. Mazzant, Judge Presiding

                 AMICI CURIAE BRIEF OF
   THOMAS ZAWISTOWSKI AND WE THE PEOPLE CONVENTION
          SUPPORTING PLAINTIFFS-APPELLEES AND
  DENIAL OF EMERGENCY MOTION FOR STAY PENDING APPEAL
                                             WALTER M. WEBER
                                               Counsel of Record
                                             JAY A. SEKULOW
                                             STUART ROTH
                                             JORDAN SEKULOW*
                                             LAURA HERNANDEZ*
                                             AMERICAN CENTER FOR LAW &
                                               JUSTICE
                                             201 Maryland Ave., NE
                                             Washington, DC 20002
                                             Phone: (202) 546-8890
                                             Fax: (202) 546-9309
Dated: December 18, 2024                     Counsel for Thomas Zawistowski and
                                               We the People Convention

*Not active Fifth Circuit Bar Members
       Case: 24-40792      Document: 105       Page: 2   Date Filed: 12/19/2024




                 CERTIFICATE OF INTERESTED PERSONS

      The case number here is No. 24-40792, Texas Top Cop Shop v. Garland.

Amicus, We the People Convention, is a non-profit corporation that has no parent

corporation, and no publicly held corporation owns 10% or more of its stock.

Amicus, Thomas Zawistowski, is a natural person.

      Pursuant to Circuit Rule 28.2.1, undersigned counsel of record certifies that

the parties’ and amici’s list of persons and entities having an interest in the outcome

of this case is complete, to the best of the undersigned counsel’s knowledge, with

the following additions:

      1.     Amici Curiae Thomas Zawistowski and We the People Convention

      2.     Walter M. Weber, counsel for Amici Curiae

      3.     Jay Alan Sekulow, counsel for Amici Curiae

      4.     Stuart Roth, counsel for Amici Curiae

      5.     Jordan Sekulow, counsel for Amici Curiae, and

      6.     Laura Hernandez, counsel for Amici Curiae.

      These representations are made in order that the judges of this court may

evaluate possible disqualification or recusal.

                                                 /s/ Walter M. Weber
                                                 Walter M. Weber




                                           i
          Case: 24-40792              Document: 105             Page: 3        Date Filed: 12/19/2024




                                        TABLE OF CONTENTS                                                          Page

CERTIFICATE OF INTERESTED PERSONS ........................................................ i

TABLE OF CONTENTS .......................................................................................... ii

TABLE OF AUTHORITIES ................................................................................... iii

INTEREST OF AMICI...............................................................................................1

ARGUMENT .............................................................................................................3

         I.       The Corporate Identity Shield for Beneficial Owners of
                  Nonprofit Political Advocacy Corporations Has Never Been
                  More Indispensable. ..............................................................................4

         II.      The CTA Burdens the First Amendment Right to Political
                  Association. ...........................................................................................8

         III.     The CTA is not Narrowly Tailored. ....................................................10

CONCLUSION ........................................................................................................12

CERTIFICATE OF SERVICE ................................................................................13

CERTIFICATE OF COMPLIANCE .......................................................................14




                                                           ii
           Case: 24-40792              Document: 105               Page: 4       Date Filed: 12/19/2024




                                       TABLE OF AUTHORITIES

Cases ............................................................................................................... Page(s)

Americans For Prosperity Found. v. Bonta, 594 U.S. 595 (2021) ..................... 9, 10

Baird v. State Bar of Ariz., 401 U.S. 1 (1971) ...........................................................9

Citizens United v. FEC, 558 U.S. 310 (2010)........................................................3, 4

John Doe No. 1 v. Reed, 561 U.S. 186 (2010) ...........................................................5

Linchpins of Liberty v. United States of America, Case No. 1:13-cv-
   00777 (D.D.C. 2017) ............................................................................................2

NAACP v. Alabama ex rel. Patterson, 357 U.S. 449 (1958) .....................................3

NAACP v. Button, 371 U.S. 408 (1963).....................................................................9

NRA of America v. Vullo, 602 U.S. 175 (2024) .........................................................4

Talley v. California, 362 U.S. 60 (1960) ...................................................................9

Statutes, Regulations, and Rules
31 U.S.C. § 5336 ......................................................................................................10

31 U.S.C. §§ 5336(a)(11)(B)(i)-(xxiii) ....................................................................11

National Defense Authorization Act for Fiscal Year 2021 (“NDAA”),
   Pub. L. No. 116-283, Div F, Title LXIV, § 6402, 134 Stat. 4604 .....................10

163 Cong. Rec. S3468, No. 101 (2017) .....................................................................8

87 Fed. Reg. 59,503 (Sept. 30, 2022) ......................................................................11




                                                             iii
          Case: 24-40792           Document: 105            Page: 5      Date Filed: 12/19/2024




Other Authorities
Bank Policy Institute, The Truth About Account Closures
  (Dec. 13, 2024), https://bpi.com/wp-content/uploads/2024/12/The-
  Truth-About-Account-Closures.pdf..................................................................4, 7

Zack Budryk, Oversight Panel Presses FEMA Administrator on
   Hurricane Relief Discrimination Allegations, THE HILL
   (Nov. 19, 2024), https://thehill.com/policy/energy-
   environment/4998801-fema-administrator-grilled-hurricane-
   milton-trump-campaign-signs/. ............................................................................5

Consent Order, Linchpins of Liberty v. United States, No. 1:13-cv-
  00777 (D.D.C. Dec. 11, 2017), ECF No. 143 ......................................................2

Allysia Finley, Debanking and the Return of
   Operation Choke Point, WALL ST. J. (Dec. 15, 2024), https://www.
   wsj.com/opinion/debanking-and-the-return-of-operation-choke-
   point-finance-money-government-8d507083 ...................................................4, 7

Letter from House Judiciary Committee to Merrick Garland (May 11,
   2022), available at https://judiciary.house.gov/sites/evo-
   subsites/republicans-judiciary.house.gov/files/2022-05/2022-05-
   11-JDJ-MJ-to-Garland-re-threat-tags_Redacted.pdf ........................................5, 6

Office of the Attorney General Memorandum, Re: Partnership Among
   Federal, State, Local, Tribal, and Territorial Law Enforcement to
   Address Threats Against School Administrators, Board Members,
   Teachers, and Staff, (Oct. 4, 2021),
   https://www.justice.gov/ag/page/file/1438986/download ....................................6

Ewan Palmer, FBI Under Pressure for Targeting Catholics in Leaked
  Document, NEWSWEEK, (Feb. 10, 2023),
  https://www.newsweek.com/fbi-memo-catholics-radical-
  traditional-leaked-1780379. ..................................................................................5



                                                       iv
           Case: 24-40792             Document: 105             Page: 6        Date Filed: 12/19/2024




Luke Rosiak, How The Biden Administration Used A Counter-
  Terrorism Grant To Fund Anti-Conservative Propaganda,
  DAILYWIRE (Jan. 17, 2024),
  https://www.dailywire.com/news/how-the-biden-administration-
  used-a-counter-terrorism-grant-to-fund-anti-conservative-
  propaganda ............................................................................................................7

Michael Stratford, The Looming Battle over ‘Debanking,’ POLITICO
  (July 3, 2024), https://www.politico.com/newsletters/morning-
  money/2024/07/03/the-looming-battle-over-debanking-00166402 .....................7

TREASURY INSPECTOR GENERAL FOR TAX ADMINISTRATION, REVIEW
  OF SELECTED CRITERIA USED TO IDENTIFY TAX-EXEMPT
  APPLICATIONS FOR REVIEW (Sept. 28, 2017), available at
  https://web.archive.org/web/20180225112702/https://www.treasur
  y.gov/tigta/auditreports/2017reports/201710054fr.pdf. .......................................4




                                                            v
         Case: 24-40792        Document: 105         Page: 7     Date Filed: 12/19/2024




                                  INTEREST OF AMICI 1

       Amici, We the People Convention (WTPC) and its President, Tom

Zawistowski, are dedicated to limited constitutional governance and to protecting

individual liberty, freedom, and prosperity. Amici “recruit, educate, and motivate

citizens at the grassroots level to perform their constitutionally defined role in the

governance of their townships, municipalities, counties, as well as in our state and

nation, by providing opportunities, knowledge, and training.” Mr. Zawistowski is a

“beneficial owner” of WTPC as that term is defined by the Corporate Transparency

Act (CTA).

       WTPC is a nonprofit corporation registered in the State of Ohio. Although

WTPC is eligible for tax exempt status under I.R.C. § 501c, WTPC is not exempt

from reporting under the Corporate Transparency Act (CTA) because it has not filed

for such status. President Mr. Zawistowski decided not to obtain tax exempt status

because of his personal experience of IRS misconduct in 2011-2012 when he was

executive director of Portage County Tea Party (PCTP) and the President of the Ohio

Liberty Coalition (OLC). The IRS illegally delayed the PCTP’s and the OLC’s



1
  This brief is accompanied by an unopposed motion for leave to file. Pursuant to FRAP
29(a)(4)(E), amici curiae states that no counsel for a party authored this brief in whole or in part,
and no counsel or party made a monetary contribution intended to fund the preparation or
submission of this brief. No person other than amici curiae or their counsel made a monetary
contribution to its preparation or submission.
                                                 1
       Case: 24-40792     Document: 105       Page: 8   Date Filed: 12/19/2024




applications for tax exempt status and made demands for disclosure of information

protected by the First Amendment right of political association. After nearly

eighteen (18) months of delay, PCTP withdrew its application, and the PCTP and

the OLC eventually sued the IRS with the OLC acting as a lead plaintiff in two

successful federal lawsuits against the IRS. Complaint, Linchpins of Liberty v.

United States of America, No. 1:13-cv-00777 (D.D.C. May 29, 2013).

      Represented by the American Center for Law and Justice, PCTP entered into

a consent decree with the IRS in which the IRS admitted that,

      its treatment of Plaintiff [PCTP and others] during the tax-exempt

      determinations process, including screening its application based on its

      names or policy positions, subjecting the application to heightened

      scrutiny and inordinate delays, and demanding of Plaintiff some

      information that TIGTA [Treasury Inspector General for Tax

      Administration] determined was unnecessary to the agency’s

      determination of its tax-exempt status, was wrong.

Consent Order, at 11, Linchpins of Liberty v. United States, No. 1:13-cv-00777

(D.D.C. Dec. 11, 2017), ECF No. 143.

      Amici have reason to believe that the CTA will be similarly deployed to target

nonprofit corporations with disfavored political views that do not qualify for one of

                                          2
       Case: 24-40792     Document: 105       Page: 9   Date Filed: 12/19/2024




the CTA’s exemptions. Amici therefore offer this brief to show that the CTA’s

disclosure requirements violate the First Amendment right to freedom of association.

                                  ARGUMENT

      Nonprofit political advocacy groups have a First Amendment right to preserve

the anonymity of their beneficial owners. Political advocacy “from a corporation,”

no less than an individual, “is indispensable to decision-making in a democracy.”

Citizens United v. FEC, 558 U.S. 310, 349 (2010). Because corporate political

advocacy can be more effective than advocacy by the individuals who form the

entity, the identity-shielding aspect of the corporate form is important. Governments

have often used disclosure requirements to target corporations with political views

that depart from prevailing orthodoxy. “Compelled disclosure of affiliation with

groups engaged in advocacy” can be as powerful a restraint on freedom of

association as requiring “identifying arm-bands.” NAACP v. Alabama ex rel.

Patterson, 357 U.S. 449, 462 (1958). As Justice Harlan trenchantly observed,

“[i]nviolability of privacy in group association may in many circumstances be

indispensable to preservation of freedom of association, particularly where a group

espouses dissident beliefs.” Id. The threat to First Amendment associational rights

from compelled disclosure parallels the threat experienced by NAACP members in

the civil rights era. Id. (noting that disclosure of the identity of NAACP members

                                          3
        Case: 24-40792        Document: 105         Page: 10     Date Filed: 12/19/2024




exposed members to economic reprisal, loss of employment, threat of physical

coercion, and other manifestations of public hostility); see also Citizens United, 558

U.S. at 483 (Thomas, J., concurring and dissenting in part) (“Of course . . . disclosure

requirements . . . enable private citizens and elected officials to implement political

strategies specifically calculated to . . . prevent the lawful, peaceful exercise of First

Amendment rights.”).

       I.      The Corporate Identity Shield for Beneficial Owners of Nonprofit
               Political Advocacy Corporations Has Never Been More
               Indispensable.

       Since the IRS targeting scandal, 2 governmental retaliation against those with

disfavored political views has increased dramatically. Through debanking,3 denial



2
  A report from the Treasury Department’s Inspector General found that from 2004 to 2013, the
IRS used both conservative and liberal keywords to choose targets for further scrutiny. TREASURY
INSPECTOR GENERAL FOR TAX ADMINISTRATION, REVIEW OF SELECTED CRITERIA USED TO
IDENTIFY TAX-EXEMPT APPLICATIONS FOR REVIEW (Sept. 28, 2017), available at
https://web.archive.org/web/20180225112702/https://www.treasury.gov/tigta/auditreports/2017r
eports/201710054fr.pdf.
3
  Debanking is the closure of private or corporate bank accounts at government instigation often
because of the holder’s political views. See, e.g., NRA of America v. Vullo, 602 U.S. 175 (2024).
For example, Operation Choke Point which operated between 2013-2017 under the Obama
Administration cut off banking access to politically disfavored businesses such as firearm dealers,
payday lenders and pawn shops. See Allysia Finley, Debanking and the Return of Operation
Choke Point, WALL ST. J. (Dec. 15, 2024), https://www.wsj.com/opinion/debanking-and-the-
return-of-operation-choke-point-finance-money-government-8d507083. See generally Bank
Policy Institute, The Truth About Account Closures (Dec. 13, 2024), https://bpi.com/wp-
content/uploads/2024/12/The-Truth-About-Account-Closures.pdf          (describing      a    “secret
enforcement regime” by which a bank examiner’s “mandate that a bank designate a client as ‘high
risk’ generally forces the bank to close the account.”)

                                                4
        Case: 24-40792        Document: 105         Page: 11     Date Filed: 12/19/2024




of hurricane relief assistance, 4 meritless investigations, 5 and designating certain

groups as terrorists or extremists, 6 the government has intimidated and silenced

those with disfavored views. This misconduct is so pervasive that there is a perpetual

“reasonable probability” that those with unpopular political views will be targeted if

their identities are disclosed. John Doe No. 1 v. Reed, 561 U.S. 186, 201 (2010)

(noting that parties may be exempt from disclosure requirements if they can show

“a reasonable probability that the compelled disclosure of a party’s contributors’

names will subject them to threats, harassment, or reprisals from either Government

officials or private parties”).

       As with the CTA, the government’s actions are sometimes undertaken for the

ostensible purpose of combating terrorism. For example, in response to a letter from

the National School Boards Association (“NSBA”) requesting that President Biden


4
  In the aftermath of Hurricane Milton, a Federal Emergency Management Agency employee was
fired for telling employees to refuse disaster relief to certain Florida homes with Trump political
yard signs. Zack Budryk, Oversight Panel Presses FEMA Administrator on Hurricane Relief
Discrimination Allegations, THE HILL (Nov. 19, 2024), https://thehill.com/policy/energy-
environment/4998801-fema-administrator-grilled-hurricane-milton-trump-campaign-signs/.
5
   See Letter from House Judiciary Committee to Merrick Garland (May 11, 2022),
available at https://judiciary.house.gov/sites/evo-subsites/republicans-
judiciary.house.gov/files/2022-05/2022-05-11-JDJ-MJ-to-Garland-re-threat-tags_Redacted.pdf
(describing FBI investigations of parents who merely expressed political views opposing such
things as mask mandates).
6
  In January 2023, a leaked FBI document warned that “radical traditionalist” Catholics pose an
extremist threat. Ewan Palmer, FBI Under Pressure for Targeting Catholics in Leaked Document,
NEWSWEEK, (Feb. 10, 2023), https://www.newsweek.com/fbi-memo-catholics-radical-traditional-
leaked-1780379.

                                                5
        Case: 24-40792       Document: 105         Page: 12    Date Filed: 12/19/2024




invoke the PATRIOT Act against parents allegedly involved in domestic terrorism

at school board meetings, Attorney General Garland issued a Memorandum

directing the DOJ to combat a “disturbing spike in harassment, intimidation, and

threats of violence against school administrators, board members, teachers, and

staff.” 7 There were no credible reports of any such “disturbing spike.” 8 Yet,

promptly acting upon Attorney General Garland’s Memorandum, the FBI

designated its National Threat Operations Center to receive tips about “terrorist”

activity by parents at school board meetings. 9 Additionally, the FBI’s

Counterterrorism Division and Criminal Division announced the creation of a new

threat tag—EDUOFFICIALS—and directed all FBI personnel to apply it to school

board-related threats. 10 FBI agents then targeted innocent parents and state officials,

whose only “offense” was to oppose the prevailing orthodoxy in public schools on

COVID masks and vaccine mandates. 11

7
  See Office of the Attorney General Memorandum, Re: Partnership Among Federal, State, Local,
Tribal, and Territorial Law Enforcement to Address Threats Against School Administrators, Board
Members, Teachers, and Staff, (Oct. 4, 2021), https://www.justice.gov/ag/page/file/1438986/dow
nload.
8
   Letter from House Judiciary Committee to Attorney General Merrick Garland, supra note 5.
9
  See id. (citing documented FBI investigations into 1) a member of Moms for Liberty, a
conservative political advocacy group; 2) a father who opposed mask mandates and was
anonymously reported to be an “insurrectionist” and 3) Republican state officials who a Democrat
official had reported to the FBI for “incit[ing] violence” by expressing public displeasure with
school districts’ vaccine mandates.).
10
    Id.
11
    Id.

                                               6
       Case: 24-40792       Document: 105        Page: 13    Date Filed: 12/19/2024




       Similarly, the Department of Homeland Security used $700,000 of funding

from a grant program intended to combat terrorism to pay activists to create blogs

and run podcasts criticizing Donald Trump and censoring or attacking conservative

viewpoints under the guise of “media literacy.” 12

       Given this toxic environment, the need for the anonymity of beneficial owners

of nonprofit political advocacy corporations has never been greater. Indeed, the

Financial Crimes Enforcement Network (FinCEN), the federal agency responsible

for enforcement of the CTA, has been a principal actor in the debanking scandal 13

that is now the focus of state legislative action. 14

       The CTA’s legislative history belies any assumption that the CTA’s

disclosure requirements would not be used to target beneficial owners of disfavored

political advocacy groups. One of the co-sponsors of the predecessor CTA, Senator

Sheldon Whitehouse, publicly expressed the hope that the CTA would be used to

compel disclosures of the identities of political donors. In a 2017 speech on the

Senate floor, he explained that a beneficial ownership reporting regime could assist


12
   Luke Rosiak, How The Biden Administration Used A Counter-Terrorism Grant To Fund Anti-
Conservative Propaganda, DAILYWIRE (Jan. 17, 2024), https://www.dailywire.com/news/how-
the-biden-administration-used-a-counter-terrorism-grant-to-fund-anti-conservative-propaganda.
13
   See Allysia Finley, supra note 3. See generally Bank Policy Institute, supra note 3.
14
    Michael Stratford, The Looming Battle over ‘Debanking,’ POLITICO (July 3, 2024),
https://www.politico.com/newsletters/morning-money/2024/07/03/the-looming-battle-over-
debanking-00166402.

                                             7
       Case: 24-40792       Document: 105       Page: 14   Date Filed: 12/19/2024




in stopping the “unprecedented dark money flow into our elections from anonymous

dark money organizations, groups that we allow to hide the identities of their big

donors,” such as “American dark money emperors, like the Koch brothers.” 15

Faulting “the Citizens United decision” for allowing “big money to flow through

dark money channels,” Senator Whitehouse hoped that requiring disclosures of

“beneficial ownership” information was the antidote to anonymous political

donations. 16 By tracking “the actual owners of companies,” law enforcement could

stop entities from “funneling money into our elections through faceless shell

companies” and allow the government to determine “the identities behind big

political spending.” 17

       Given this history and context, the CTA imposes a severe burden on First

Amendment associational freedoms.

       II.    The CTA Burdens the First Amendment Right to Political
              Association.

       The CTA is a compelled disclosure regime that broadly sweeps in associations

protected by the First Amendment. When it comes to “‘a person’s beliefs and

associations,’ ‘[b]road and sweeping state inquiries into these protected areas . . .


15
   163 Cong. Rec. S3468, No. 101 (2017).
16
   Id.
17
   Id. at S3469.

                                            8
       Case: 24-40792      Document: 105       Page: 15   Date Filed: 12/19/2024




discourage citizens from exercising rights protected by the Constitution.’”

Americans For Prosperity Found. v. Bonta, 594 U.S. 595, 610 (2021) (quoting Baird

v. State Bar of Ariz., 401 U.S. 1, 6 (1971) (plurality opinion)). It is immaterial that

the beneficial owner information required by the CTA disclosure requirements may

not be disclosed to the public. Assurances of confidentiality do not eliminate the

burden on political association rights. Id. at 616. Fear of reprisal chills “peaceful

discussions of public matters of importance.” Talley v. California, 362 U.S. 60, 65

(1960). In stripping the anonymity of beneficial owners, the CTA burdens the First

Amendment right to political association.

      The CTA must therefore survive exacting scrutiny. Bonta, 594 U.S. at 611.

The government must demonstrate that there is “a substantial relation between the

disclosure requirements and a sufficiently important governmental interest.” Id.

Moreover, the disclosure requirement must be narrowly tailored to the interest it

promotes. Even where the government asserts weighty interests, and the burden on

associational rights is modest, the government must still “regulate . . . with narrow

specificity.” Id. at 610 (quoting NAACP v. Button, 371 U.S. 408, 433 (1963)).

      Bonta rejected the argument that narrow tailoring is required only for laws

that impose severe burdens on First Amendment associational rights, emphasizing

that “a substantial relation to an important interest is not enough to save a disclosure

                                           9
       Case: 24-40792     Document: 105        Page: 16   Date Filed: 12/19/2024




regime that is insufficiently tailored. This requirement makes sense. Narrow

tailoring is crucial where First Amendment activity is chilled—even if indirectly—

‘[b]ecause First Amendment freedoms need breathing space to survive.’” 594 U.S.

at 609 (emphasis added)(quotations omitted).

      III.   The CTA is not Narrowly Tailored.

      The government’s brief filed with the Eleventh Circuit shows that the CTA is

not narrowly tailored. The CTA’s principal objective is to combat money laundering

and the financing of terrorism. The Act enhances “critical national security,

intelligence, and law enforcement efforts” to detect and prosecute financial crime.

National Defense Authorization Act for Fiscal Year 2021 (“NDAA”), Pub. L. No.

116-283, Div F, Title LXIV, § 6402, 134 Stat. 4604. The government admits that the

primary targets of the CTA are “active, for-profit businesses with an especially close

connection to commerce.” Appellant’s Br. at 12, No. 24-10736 (11th Cir. 2024),

ECF No. 18 [hereinafter “Appellant’s Br.”]. Thus, the CTA “regulates a class of

entities—primarily active, for-profit businesses—whose defining feature is their

authority and propensity to conduct commercial transactions.” Appellant’s Br. at 23.

      As the government explained further, one reason for this focus is that federal

prosecutors observe that “large-scale schemes that generate substantial proceeds for

perpetrators and smaller white-collar cases alike routinely involve shell companies.”

                                          10
       Case: 24-40792     Document: 105        Page: 17   Date Filed: 12/19/2024




87 Fed. Reg. 59,503 (Sept. 30, 2022) (quotation marks omitted). Likewise, drug

traffickers “commonly use shell and front companies to commingle illicit drug

proceeds with legitimate revenue of front companies, thereby enabling the [drug

traffickers] to launder their drug proceeds.” Appellant’s Br. at 19. Presumably out

of recognition that nonprofit entities are not closely connected to commerce, the

CTA exempts nonprofit organizations with tax exempt status under IRC 501c. 31

U.S.C. §§ 5336(a)(11)(B)(i)-(xxiii). As the government explained, “Congress

exempted from the reporting requirements various categories of businesses the

provision of whose information to FinCEN would not significantly facilitate the

detection and prosecution of financial crime.” Appellant’s Br. at 8 (emphasis added).

This amounts to a concession that nonprofit entities devoted to political advocacy

are not likely involved in the type of financial crimes that the CTA targets. The CTA

thus accomplished nothing by refusing to include all nonprofit political advocacy

entities in its long list of exemptions. The CTA is unconstitutional because it is not

narrowly tailored.




                                          11
      Case: 24-40792     Document: 105        Page: 18   Date Filed: 12/19/2024




                                  CONCLUSION

      Amici respectfully ask this Court to deny Defendants-Appellants’ emergency

motion for stay pending appeal.

                                          Respectfully Submitted,

                                          /s/ Walter M. Weber
                                          WALTER M. WEBER
                                          AMERICAN CENTER FOR LAW & JUSTICE
                                          201 Maryland Ave., NE
                                          Washington, DC 20002
                                          Phone: (202) 546-8890
                                          Fax: (202) 546-9309
                                          Counsel for Amici Curiae




                                         12
      Case: 24-40792       Document: 105        Page: 19   Date Filed: 12/19/2024




                         CERTIFICATE OF SERVICE

      I hereby certify that on December 18, 2024, I electronically filed a copy of the

foregoing Amicus Curiae Brief using the ECF System which will send notification

of that filing to all counsel of record in this litigation. I also certify that all

participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.

Dated: December 18, 2024

/s/ Walter M. Weber
Walter M. Weber
Counsel for Amici Curiae




                                           13
       Case: 24-40792      Document: 105        Page: 20   Date Filed: 12/19/2024




                      CERTIFICATE OF COMPLIANCE

      This brief complies with type-volume limitation of Fed. R. App. Pro.

32(a)(7)(B). The brief contains 2441 words, excluding the parts of the brief

exempted by Fed. R. App. Pro. 32(f). This brief complies with the typeface

requirements of Fed. R. App. Pro. 32(a)(5) and 32(a)(6) and Fifth Cir. R. 32.1

because this brief has been prepared in a proportionately spaced typeface using

Microsoft Word processing software in Times New Roman font, text size 14-point

and footnote size 12 point.

Dated: December 18, 2024

/s/ Walter M. Weber
Walter M. Weber
Counsel for Amici Curiae




                                           14
